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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

GRAYCE GATES,                                 )
                                              )
        Plaintiff,                            )
                                              )
                       v.                     )
                                              )
BARTLETT PARK DISTRICT,                       )
                                              )       Jury Trial Demanded
        Defendant.                            )

                                 COMPLAINT AT LAW

         NOW COMES the Plaintiff, GRAYCE GATES (“Plaintiff” or “Gates”), through

her attorneys, The Law Offices of Eugene K. Hollander, and for her Complaint at Law

against the Defendant, BARTLETT PARK DISTRICT (“Bartlett”), states as follows:

                                     JURISDICTION

         1.      This is a suit in equity authorized and instituted pursuant to the Age

Discrimination in Employment Act of 1967, 29 U.S.C. Sec. 621 et seq. (“ADEA”). The

jurisdiction of this court is invoked to secure protection of and to address deprivation of

rights secured by 29 U.S.C. Sec 621 et seq., providing for declaratory, injunctive,

compensatory, and other relief against age discrimination in employment.

         2.      Venue in this district is proper under 28 U.S.C. §1391(B). The Defendant

resides or resided in this district and the events giving rise to Plaintiff’s claims occurred

here.

         3.      All conditions precedent to jurisdiction have occurred or been complied

with, to-wit:

                 a. A charge of employment discrimination was filed with the Equal
                    Employment Opportunity Commission (“EEOC”) by Plaintiff on
                    September 25, 2019, a copy of which is attached hereto as Exhibit 1.
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               b. Gates was issued a notice of right to sue by the EEOC on February 4,
                  2020.


                                         PARTIES

       4.      Gates is a citizen of the United States and the State of Illinois and resides in

Bartlett, Cook County, Illinois.

       5.      Gates was a member of the protected class, age 71, when the unlawful

employment practices occurred.

       6.      Gates was an “employee” as that term is defined by the Age Discrimination

in Employment Act.

       7.      Bartlett is a local public entity engaged in the management of parks.

                                   BACKGROUND FACTS

       8.      Gates began her employment with Defendant in 2015 at 696 W. Stearns

Road, Bartlett, Illinois 60103. Her most recent position was at the front desk of the gym.

       9.      Throughout Gates’ employment, she met the legitimate expectations of the

Defendant in her work.

       10.     On or about December 23, 2018, Gates applied for the position of Executive

Assistant to the Executive Director.

       11.     On or about December 23, 2018, Gates told Rita Fletcher, the Executive

Director that she was applying for the position, to which Rita replied, “I want someone

who will be around for a while.”

       12.     At that time, Gates was 71 years old.




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        13.     Gates temporarily worked in the position, for roughly one week, before the

position was given to someone much younger than Gates despite her being able to fulfill

all the roles and responsibilities the position required.

        14.     In March 2019, Gates left her employment with Bartlett.


         COUNT I – 29 U.S.C. § 621 – DISCRIMINATION BASED ON AGE

        15.     Gates reincorporates and realleges Paragraphs 1 through 14 as though fully

set forth herein.

        16.     Gates was subjected to age discrimination in that there was a double

standard set up between older employees and younger employees not included within the

protected class.

        17.     Age was the determining factor in Plaintiff Gates’ discriminatory treatment

and Defendant’s refusal to hire her for the position in question. But for Plaintiff's age, she

would have been hired. Defendant knew that the discriminatory treatment of Plaintiff on

account of age violated the ADEA.

        18.     In refusing to hire Gates, Defendant maliciously and/or recklessly violated

the ADEA.

        19.     The unlawful employment practices alleged herein were committed within

the State of Illinois.

        20.     This is a proceeding for a declaratory judgment as to Plaintiff's rights for a

permanent injunction restraining Defendant from maintaining a policy, practice, custom or

usage of discriminating against Plaintiff because of age with respect to compensation,

terms, conditions and privileges of employment and in ways that deprive Plaintiff of equal

employment opportunities and otherwise adversely affect her status as an employee,

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because of age. This complaint also seeks restitution to Plaintiff of all rights, privileges,

benefits and income that would have been received by her, but for Defendant’s unlawful

and discriminatory practices.

         21.   Plaintiff has no plain, adequate or complete remedy at law to address the

wrongs alleged and this suit for injunctive relief is her only means of securing adequate

relief. Plaintiff is now suffering and will continue to suffer irreparable injury from

Defendant’s policy, practice, custom and usage as set forth herein until and unless enjoined

by the Court

         22.   Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff GRAYCE GATES, respectfully prays that this Honorable

Court:

          1.   Enter a declaratory judgment that the practices complained of herein are

unlawful and violative of the Age Discrimination in Employment Act;

          2.   Permanently enjoin Defendant, their agents, successors, officers,

employees, attorneys and those acting in concert with it or them from engaging in each of

the unlawful practices, policies, customs and usages set forth herein, and from continuing

any and all practices shown to be in violation of applicable law;

          3.   Order modification or elimination of the practices, policies, customs and

usages set forth herein and all other such practices shown to be in violation of applicable

law so that they will not discriminate on the basis of age;

          4.   Immediately assign Plaintiff to that job she would now be occupying but for

the discriminatory practices of Defendant, and adjust the wage rates, salaries, bonuses, and




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benefits for Plaintiff to those which she would be enjoying but for the discriminatory

practices of Defendant, or, if this is impossible, award Plaintiff front-end pay;

       5.     Compensate and make Plaintiff whole for all earnings, wages, including

prejudgment interest and other benefits that she would have received but for the

discriminatory practices of Defendant;

       6.      Award Plaintiff the costs and disbursements of this action, including

reasonable attorney's fees;

        7.     Award Plaintiff liquidated damages for Defendant’s willful conduct; and

        8.     Grant such other relief as may be just and proper.

                                                              Respectfully Submitted,

                                                              Plaintiff,
                                                              GRAYCE GATES

                                                      By:     /s/ John P. Martin
                                                              One of her attorneys

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